Case 1:21-cv-05523-MKB-PK Document 395 Filed 08/23/23 Page 1 of 4 PageID #: 7037




                                                        August 22, 2023
 VIA ECF
 Magistrate Judge Peggy Kuo
 United States District Court
 Eastern District of New York
 225 Cadman Plaza East
 Brooklyn NY 11201


          Re:      State Farm Mut. Auto. Ins. Co., et al. v. Metro Pain Specialists, P.C.., et al.,
                   Case No. 1:21-cv-05523 – Joint Letter re Confidentiality Order
 Dear Judge Kuo:

         We represent Defendant Yan Moshe and the following non-parties he owns which
 Plaintiffs have served with subpoenas duces tecum: 1963 Concourse Holdings LLC; 910 East
 Gun Hill Holdings LLC; 65-55 Woodhaven Realty LLC and 63-36 Holdings LLC, and 9220
 165 Holdings LLC (“Respondents”). Please accept this response to Plaintiffs’ August 3, 2023
 application [DE 382] seeking to hold Respondents in contempt for their ostensible failure to
 comply with the aforesaid subpoenas.

        In fact, Plaintiffs have confirmed in their application that Respondents have substantially
 complied with the subpoenas. Specifically, they’ve admitted receipt of over five hundred
 documents on May 31st and more than two thousand on June 1st. [DE 382 @ ¶3]. These
 documents were exchanged in a timely manner pursuant to the Court’s June 1st order which
 extended the deadline for their production to June 7, 2023.

         Admittedly, this is a mere pittance in comparison to the millions of unidentified,
 intermingled images Plaintiffs have produced without even a cover page, much less a
 description, source or any other identifying factors.1 However, it is almost everything
 Respondents’ possess that is responsive to the subpoenas, with one caveat. That caveat and
 resulting inadvertent omission of documents from Respondents’ production could much more
 easily have been resolved, for instance on June 13, 2023 at the deposition of Beshert, Corp.

          At the conclusion of that deposition, Plaintiffs’ counsel Jonathan Marks and Christopher
 Cook and I discussed whether there were any outstanding issues that needed to be addressed.
 After a brief discussion between them, Mr. Cook stated that there were no such issues. Prior to
 that, the last time Plaintiffs raised any discovery issues was their June 8th letter regarding
 Respondents’ document productions. Since then, the instant motion seeking the extreme and
 inappropriate relief of a contempt holding is the only effort by Plaintiffs to resolve these issues

 1
  Plaintiffs have also unilaterally determined that discoverable materials should be limited to the period since
 November 1, 2016.



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Case 1:21-cv-05523-MKB-PK Document 395 Filed 08/23/23 Page 2 of 4 PageID #: 7038




 and it was ameliorated by Mr. Cook’s representation that there was no need for us to confer at
 the June 13th deposition. In fact, we were already in the process of reviewing Respondents’
 productions and drafting supplemental responses to Plaintiffs’ demands as of the date of that
 deposition. However, since Rina Esterov, the custodian of Respondents’ records is not an
 employee of any of them it was somewhat difficult and time consuming for us to obtain the
 appropriate documents for production.

         Unfortunately, Plaintiffs’ counsel did not contact us regarding the alleged deficiencies
 upon which their application is premised between their June 13th denial of the need to meet and
 confer and their submission of this application. They did not raise any objection to the volume or
 nature of the documents Respondents exchanged, nor did they issue a further request for the
 allegedly missing documents when we had the opportunity to meet and confer in person.

         Therefore, it is respectfully submitted that an issue that wasn’t important enough for
 Plaintiffs to even mention in person, simply cannot be significant enough to warrant holding
 anyone in contempt of court. Moreover, the alleged deficiencies Plaintiffs contend warrant
 holding Respondents in contempt are, with the exception of the ledgers, based on nothing but
 guess work and supposition. Further, the relevance and significance of the ledgers themselves is
 far from clear and, in any event, are not worth holding anyone in contempt especially since their
 omission was unintentional. Specifically, the custodian of Respondents’ records believed they
 were going to be exchanged electronically when it was our intention to produce them as .pdfs.
 That is why most of the ledgers were mistakenly left out of Respondents’ response when they
 were prepared.

           As Plaintiffs admit, Respondents exchanged approximately six hundred pages of
 responsive materials on May 31, 2023 and supplemented that with two thousand pages the very
 next day. However, during our discussions with Ms. Esterov after receiving Plaintiffs’ June 8th
 letter, it became apparent that parts of Respondents’ general ledgers had unintentionally been
 omitted from Respondents prior responses to the subpoenas. When she reviewed the materials in
 her possession and converted and compiled them for production, some portions of the resulting
 document compilation were inadvertently incomplete, an omission which has now been
 remedied by the production of ledger entries from November 2016 forward.

         Therefore, after speaking with Ms. Esterov at length and following a further review we
 determined it necessary to supplement the prior responses. We have now produced additional
 document responses including the available general ledgers for each of the Respondents from
 November 1, 2016. All of which could have been done, without imposing upon the Court, had
 Plaintiffs simply chosen to discuss the issue at the June 13th deposition or in a subsequent
 communication.

         Moreover, the previously omitted materials have no significant bearing on the matters at
 issue in this case. Further, upon information and belief, Plaintiffs have already obtained much of
 the information in response to the subpoenas they served on Defendant Moshe’s banks including
 Chase and Popular and other unnamed sources they refer to in their August 3rd application. The
 remainder of Plaintiffs’ assertions in that application are literally based on guesswork and




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Case 1:21-cv-05523-MKB-PK Document 395 Filed 08/23/23 Page 3 of 4 PageID #: 7039




 suppositions, all of which have been specifically refuted by Ms. Esterov and the additional
 financial documents that have now been produced to Plaintiffs.2

         For instance, under their heading “Real Estate Documents” Plaintiffs state that certain
 documents “are likely to be solely within [Respondents’] control.” (emphasis added). They
 further claim that the “Citimedical entities”, not Respondents, spent “substantial sums” on
 construction and leased medical equipment from Respondents. However, instead of identifying
 any specific documents or revealing the basis of these allegations, which might help Respondents
 (and Defendant Moshe) locate any responsive documents, Plaintiffs ask the Court to impose the
 extreme (and inappropriate) sanction of contempt. [DE 382, ¶6).

         In addition, the leases referred to by Plaintiffs specifically permit the tenants to make
 alterations up to fifty thousand dollars without the landlord’s permission. [See e.g. Esterov Bates
 Number 12]. So, there’s no reason Respondents would have any records relating to such
 renovations. Those same leases, which have already been produced, are responsive to Plaintiffs’
 demands for documents proving “fair market value” of the leased properties which Plaintiffs’
 claim have also been omitted from Respondents’ responses. Respondents have also produced
 numerous mortgage documents reflecting the purchase price of the properties. For instance, at
 Esterov Bates number 000204 the rent is calculated on a per square foot basis, and a July 2021
 mortgage for the same property at Esterov Bates number 000233 both of which reflect the fair
 market value of the property.

        Under their “Communications” heading Plaintiffs aver that “the absence of any email or
 [ESI] raises significant questions as to [Respondents’] compliance with the Order.” [DE 382
 ¶7] (emphasis added). It would be utterly improper to base a contempt finding on Plaintiffs’
 claims as to the existence of unanswered “questions”, no matter how “significant” Plaintiffs
 believe them to be. On the contrary, it is respectfully submitted that any such questions must be
 answered with a far greater degree of certainty than that shown by their mere, unsubstantiated
 existence before reaching the level necessary to hold anyone in contempt of court.

         As to their heading “Payments”, all responsive materials that were inadvertently omitted
 are being exchanged contemporaneously with this response. This includes the Respondents’
 ledgers as well as bank statements and checks which, upon information and belief, have already
 been obtained by Plaintiffs in response to the subpoenas served on the non-party banks. So, it is
 extremely likely that all the alleged omissions or shortcomings responsive to this topic have been
 remedied.

          In conclusion, Plaintiffs’ motion should be denied because they have failed to make a
 sufficient showing to warrant holding Defendant Moshe or any of the Respondents in contempt
 of court. On the contrary, with the sole exception of some largely irrelevant ledgers, Respondents

 2
   Any responsive materials at issue under the heading “Financial Documents” are being produced
 contemporaneously with the submission of this response. However, the highly indefinite claim by Plaintiffs that
 such materials “are commonly maintained” and “would likely have been used to prepare tax returns” is a perfect
 example of the type of qualified assertions Plaintiffs rely upon that are insufficient to form the basis of a contempt
 finding.




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Case 1:21-cv-05523-MKB-PK Document 395 Filed 08/23/23 Page 4 of 4 PageID #: 7040




 previously produced everything Plaintiffs have demanded to which they are entitled. As to the
 omitted documents, that shortcoming has been remedied contemporaneously with the submission
 of this response.

         Plaintiffs had ample opportunity to meet and confer regarding what they now allege to be
 documents of such importance as to warrant a contempt finding. Their counsel and I specifically
 addressed any outstanding issues at the Alon deposition and they specifically stated there were
 no such issues. Then, without any further effort to resolve their perceived shortcomings, they
 have come to the Court seeking the extreme sanction of contempt. At most, Respondents and
 Plaintiffs’ counsel should be directed to meet and confer regarding the documents at issue to
 ensure that the Court’s time is not wasted addressing issues that have already been resolved.




                                             Respectfully submitted,

                                             /s/Neil Flynn




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